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                     IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF ALASKA

Jeremiah M., et al.,                    )
                                        )
       Plaintiffs,                      )
                                        )       Case No. 3:22-CV-00129-JMK
v.                                      )
                                        )
Adam Crum, et al.                       )
                                        )
       Defendants.                      )

       REPLY IN SUPPORT OF DEFENDANTS’ MOTION TO DISMISS




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I.       The Younger abstention doctrine requires the Court to abstain.

         Younger abstention applies when:

         (1)    a federal plaintiff is a party to an ongoing state proceeding that is one of the
                three types of cases identified in Sprint, i.e., a criminal proceeding, a civil
                enforcement proceeding, or an action that “involve[s] a state’s interest in
                enforcing the orders and judgments of its courts”;

         (2)    the federal action would interfere with the ongoing state proceeding;

         (3)    the federal plaintiff has an adequate opportunity to raise federal claims in the
                state proceedings;

         (4)    the state proceedings “implicate important state interests.”1

         Plaintiffs’ Opposition argues this case fails to meet any of those four requirements.

Plaintiffs are incorrect for the reasons set forth below.

         A.     Younger protects CINA proceedings from federal court interference.

         Plaintiffs argue Younger abstention provides no protection for CINA cases,

regardless of the extent to which the federal action may interfere with an individual child’s

case, because state abuse-and-neglect proceedings do not fall into any of the three

categories of state proceedings that Younger protects, as set out in Sprint.2

         There is no dispute that there is a circuit split on this issue,3 and the Ninth Circuit




1
         ReadyLink Healthcare, Inc. v. State Comp. Ins. Fund, 754 F.3d, 754, 759 (9th Cir.
2014).
2
       Dkt. 30, pp. 12-25 (citations herein are to the page numbers on the parties’
respective briefs, as opposed to the ECF page numbers).
3
       Compare, e.g., Ashley W., 34 F.4th 588, 591 (7th Cir. 2022), Oglala Sioux Tribe,
904 F.3d at 610; Vaughn:Douce v. N.J. Div. of Child Prot. and Permanency, No. 21-1596,
2021 WL 3403670 (3d Cir. Aug. 4, 2021), with, e.g., Jonathan R. v. Justice, 41 F.4th 316
(4th Cir. July 20, 2022).
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has not weighed-in since Sprint.4 However, the post-Sprint majority view among the

circuits is that state abuse-and-neglect proceedings are civil enforcement actions covered

by Younger.5 And the majority view is consistent with the Supreme Court’s opinion in

Moore v. Sims, which held Younger abstention applies to state abuse-and-neglect

proceedings, in part because they are “in aid of and closely related to criminal statutes”

relating to child abuse.6 In fact, Moore was expressly re-affirmed in Sprint, where the Court

cited Moore as an example of a case in which abstention was appropriate.7

       Plaintiffs attempt to distinguish Moore by claiming CINA proceedings are somehow

different from proceedings relating to the “temporary removal of a child in the child-abuse



4
       Plaintiffs’ cite L.H. v. Jamieson, 643 F.2d 1351 (9th Cir. 1981), but it is not on point
as explained in Defendants’ Motion. See Dkt. 23, pp. 31-33 (addressing L.H.).
       Plaintiffs also fail to acknowledge H.C. ex rel. Gordon v. Koppel, 203 F.3d 610, 613
(9th Cir. 2001), in which a mother sought an injunction prohibiting interference with her
custody her child. In evaluating the mother’s claim, the court held that “[t]his is precisely
the type of case suited to Younger abstention” because (1) important state interests were
implicated; (2) “[f]amily relations are a traditional area of state concern”; (3) the “state has
a vital interest in protecting ‘the authority of the judicial system, so that its orders and
judgments are not rendered nugatory’…particularly…in the field of domestic relations,
over which federal courts have no general jurisdiction, and in which the state courts have
a special expertise and experience”; and (4) the plaintiffs had “an adequate state forum in
which to pursue their federal claims.” Gordon, 203 F.3d at 613 (internal citations omitted).
Gordon was cited with approval post-Sprint. See, e.g., Williams v. Cal., 700 Fed. Appx.
581 (9th Cir. 2017); Green v. Phuong, 3:20-mc-00011-TMB, 2020 WL 4360579, at * 7-8
n. 84 (D. Alaska July 29, 2020).
5
       See Note 3, supra; see Dkt. 23, p. 19. The Opposition criticizes Ashley W., arguing
the decision “violated abstention law” (Dkt. 30, p. 17). But the Seventh Circuit’s view on
abstention is the majority view among the circuits. Dkt. 23, p. 19, n. 72. Moreover, the
same lead counsel representing the Plaintiffs here represented the plaintiffs in Ashley W.,
and they did not ask the Supreme Court to review the Seventh Circuit’s decision.
6
       Moore v. Sims, 442 U.S. 415, 423 (1979) (internal quotation marks omitted).
7
       Sprint Commc’ns, Inc. v. Jacobs, 571 U.S. 69, 80 (2013).
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context.”8 But nothing in Moore suggests courts should draw a distinction between the

initial hearing, where the child is removed from his or her parents, and subsequent hearings

in the same case, where that removal is re-evaluated and other decisions about the child are

reviewed. To the contrary, Moore expressly described the proceedings at issue as

“ongoing.”9 Younger abstention, in turn, only applies to “ongoing” proceedings, which

belies any argument that Moore’s holding was limited an “initial” removal hearing.

       Moreover, in Alaska, CINA cases are the proceedings in which children are initially

removed from their parents’ custody due to abuse or neglect. The initial removal hearing

is part of a single, unitary case bearing the same case number, before the same superior

court judge. And that same case remains pending throughout the time the child is in state

custody.10 The removal decision is not even made at one “initial” hearing: throughout a

CINA case, the superior court regularly re-evaluates whether the child should remain

removed from her biological family, unless and until the court terminates parental rights,

which often never happens because re-unification is generally the desired outcome.11

       Plaintiffs cite Jonathan R. and Tinsley, but both courts erred in reading Moore to

create a distinction between the initial removal hearing and other hearings in the same case.


8
       Dkt. 30, pp. 12-13 (quoting Moore, 442 U.S. at 423).
9
       Moore, 442 U.S. at 431 n.12.
10
       See Alyssa B. v. State, DHSS, 165 P.3d 605, 612, (Alaska 2007) (explaining that a
termination proceeding is a “procedural continuation of the earlier proceedings in the
existing CINA case;” it does not initiate a new proceeding); Dkt. 23, pp. 8-14.
11
       See, e.g., AS 47.10.086(a)(1) (OCS’s duty to make reasonable efforts includes the
duty identify family support services that will assist the parent in remedying the conduct
that made the child a child in need of aid); Margot B. v. State, DHSS, OCS, No. S-
16318/16331/16332, 2017 WL 1102975, at *2-3 (Alaska March 22, 2017) (parental rights
were not terminated until three years after the child was taken into custody).
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And as explained in the Motion, Jonathan R. also erred by distinguishing Moore on the

basis that the claims in Moore were brought by abusive parents rather than children12 when

in fact, both parents and children brought claims in Moore.13

       Tinsley is further distinguishable because, “[i]n Arizona, proceedings to remove a

child from the familial home and periodic reviews while in state custody are distinct.”14

But in Alaska, temporary removal proceedings are not distinct from the periodic reviews

of a child’s placement and services. All hearings – e.g., emergency custody, temporary

custody, adjudication, and permanency – are part of the same CINA proceeding, and each

involves custody, as well as placements and services.15

       Finally, Jonathan R. and Tinsley are inconsistent with the principles of comity and

federalism underlying Younger. They would preclude interference with an initial decision

about whether to remove a child from the home, but then welcome federal court

interference with subsequent decisions by the same state court about the same child in the

same case (e.g., decisions about placement, services, and adoption). Under Jonathan R.

and Tinsley, a child who believes a state court might find placement in a residential

treatment facility is in the child’s best interest could ask a federal court to enjoin the state

court from issuing that decision, and the federal court would have to decide the question

already pending before the state court. That is exactly the interference Younger was

intended to prohibit.


12
       Jonathan R, 41 F.4th at 329-30.
13
       Moore, 442 U.S. at 418.
14
       Tinsley v. McKay, 156 F. Supp. 3d 1024, 1034 (D. Ariz. 2015).
15
       See Alyssa B., 165 P.3d at 612 (Alaska 2007); Dkt. 23, pp. 8-14.
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       B.     Plaintiffs’ relief would interfere with ongoing CINA proceedings.

       The Opposition argues Plaintiffs’ claims would not interfere with ongoing CINA

proceedings because they seek review of “legislative or executive action as opposed to

judicial action.”16 This misunderstands the Younger interference standard.

       In the Ninth Circuit, a federal action that would “effectively” enjoin,17 or that would

“have the practical effect of enjoining” a state proceeding,18 interferes with the proceeding

for purposes of Younger. This is true “regardless of whether the relief targets the conduct

of a proceeding directly.”19 Indeed, in Moore, the Court applied Younger to a federal action

brought by parents and children that sought to enjoin a state statute (legislative action) and

state executive action, but did not seek to actually enjoin an ongoing state court case.20

Nevertheless, Younger applied. The Ninth Circuit has also held a constitutional challenge

to “Washington’s child welfare statutes” (legislative action) “interfere[d] with ongoing

state court proceedings (dependency actions and/or actions to terminate parental rights).”21



16
       Dkt. 30, p. 10 (internal quotation marks omitted).
17
       Citizens for Free Speech, LLC v. Alameda, 953 F.3d 665, 657 (9th Cir. 2020)
(emphasis added).
18
       ReadyLink Healthcare, Inc., 754 F.3d at 758.
19
       Joseph A. ex rel. Wolfe v. Ingram, 275 F.3d 1253, 1272 (10th Cir. 2002).
20
       Moore v. Sims, 442 U.S. 415; see also, e.g., Oglala Sioux Tribe v. Fleming, 904 F.3d
603, 613-14 (8th Cir. 2018); 31 Foster Children v. Bush, 329 F.3d 1255, 1276 (11th Cir.
2003) (“The relief sought need not directly interfere with an ongoing proceeding or
terminate an ongoing proceeding in order for Younger abstention to be required.”); id. at
1278 (holding that the case would interfere with ongoing state court proceedings “[e]ven
though any remedial order would run against the Department,” not the courts, because state
law gives courts the duty to oversee decisions impacted by the order); Joseph A., 275 F.3d
at 1268-69 (holding that the court order is precluded by Younger, even though the federal
court is not asked to enjoin an action from proceeding in state court).
21
       Zimmerman v. Gregoire, 18 Fed. Appx. 599, 601 (9th Cir. 2001).
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       Defendants’ Motion explained that the relief Plaintiffs seek would “effectively

enjoin” ongoing CINA cases because it would control future decisions by Alaska superior

courts.22 Any relief awarded in the injunction that could also be obtained in a CINA case

would effectively be off limits in state court; instead, the federal court would become the

ultimate arbiter of disputes over things like placement and the duration of a child’s time in

state custody.

       In response, Plaintiffs only addressed one of the Complaint’s 18 injunctive relief

requests. Plaintiffs argued that “Defendants do not (and cannot) explain how seeking an

injunction that Defendants, for example, ‘place children in placements that are safe,

appropriate, and in the least restrictive environment that best suits their individual needs’

would interfere with the court’s discretion.”23 But an injunction requiring OCS to place all

children in “safe, appropriate, and in the least restrictive environment” would effectively

enjoin (preclude) superior courts from making fact-specific placement decisions that

deviate from what Plaintiffs’ counsel or the federal court deems “safe,” “appropriate” or

the least restrictive.24

       And the general consensus that children should be placed in “safe” and



22
       See Dkt. 23, pp. 24-30. Plaintiffs rely heavily on Wyatt B. v. Brown to support their
argument that Younger is not applicable here, claiming that defendants in Wyatt B. “made
almost identical abstention arguments to those made by Defendants here,” Dkt. 30, p. 8;
see also id. at 17 n.27; id. at 23 n.37; id. at 25 n.4. But in Wyatt B. the defendants did not
even raise Younger; instead, they relied only on O’Shea abstention. Thus, the court did not
even decide whether abstention was appropriate under Younger. Wyatt B. v. Brown, No.
19-cv-00556, 2021 WL 4434011 (D. Or. Sept. 27, 2021).
23
       Dkt. 30, p. 21.
24
       See id. at 25-26.
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“appropriate” placements does not make a federal injunction any less controlling of the

superior court’s decisions, nor does it mean there will not be disagreements between the

federal and state courts about what is “safe” and “appropriate.” 25 For instance, if a superior

court approved a child’s temporary placement in a residential treatment facility, how would

it know if that placement meets the federal court’s definition of “safe” or “appropriate”?

Worse yet, if Plaintiffs’ counsel did not believe the placement met this standard, they would

presumably ask the Court to declare that the superior-court-approved placement violated

the federal order. Those are the types of scenarios Younger intended to avoid.

       Plaintiffs also seek injunctive relief requiring Defendants to take certain actions in

CINA proceedings. Specifically, Plaintiffs ask this Court to:

       (1)    “Require Defendants to file and proceed with a timely petition [in the CINA
              proceeding] to free a child for adoption” (i.e., terminate parental rights so
              that the child is eligible for adoption), and

       (2)    “Require Defendants to take all necessary steps to seek and secure an
              appropriate adoptive placement for a child when the child’s plan is
              adoption,” which would require OCS to seek superior court approval.26

       Both requests would interfere with CINA cases “in an insidious way” because they

would impose an across-the-board requirement for OCS to move to terminate parental

rights under circumstances defined by the injunction, even if OCS did not believe the




25
        See 31 Foster Children, 329 F.3d at 1278-79 (internal citations omitted) (where
plaintiffs seek to place child welfare decisions “that are now in the hands of the state courts
under the direction of the federal district court,” “[t]he federal and state courts could well
differ, issuing conflicting orders about what is best for a particular plaintiff, such as
whether a particular placement is safe or appropriate or whether sufficient efforts are being
made to find an adoptive family”).
26
        Dkt. 16 (Am. Compl.), p. 92.
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motion was supported by state law or in a particular child’s best interest. Plaintiffs’ requests

would also prevent OCS from presenting to the superior court a permanency option (i.e.,

something other than adoption) that OCS believes is in the child’s best interest.27

       Finally, Plaintiffs argue that “[i]n Alaska, it is OCS, not the courts, that is

responsible for making placements, and courts only serve a supervisory role and cannot

substitute judgment.”28 While OCS makes placement decisions, any party to the CINA case

(including the child) may challenge them at any time,29 and decisions are reversed when a

superior court finds an abuse of discretion or violation of state or federal law.30 Just because

superior courts review placement decisions rather than making them in the first instance,

does not mean an injunction governing placement will not interfere with CINA cases.

       C.     Plaintiffs cannot avoid Younger by seeking “systemic” relief on behalf of
              a putative class.

       Plaintiffs also attempt to avoid Younger by pointing out that they are seeking


27
        Joseph A. ex rel. Wolfe v. Ingram, 275 F.3d 1253, 1268-69 (10th Cir. 2002) (order
precluded by Younger, even though federal court was not asked to enjoin action from
proceeding in state court, because it “require[ed] interference with the operations of the
Children's Court in an insidious way in that the [order] expressly prevent[ed] the
Department’ employees from recommending a range of planning options for children who
are in the Department's custody,” which “has an effect not unlike that of an injunction or
declaratory judgment because the Department is precluded ever from presenting certain
options to the Children's Court”).
28
        Dkt. 30, p. 22.
29
        CINA Rule 19.1(b), (d).
30
        See, e.g., DHHS v. Zander B., 474 P.3d at 1162; Celia W. v. DHHS, OCS, No. S-
17954, 2021 WL 4191436 (Alaska September 15, 2021); Dylan J. v. State, No. S-14641,
2012 WL 4840768 (Alaska October 10, 2012); In re J.D.S., No. S-10383, 2002 WL
1183536 (Alaska May 29, 2002); S.S.M. v. State, 3 P.3d 342 (Alaska 2000); Brynna B. v.
State, DHHS, DFYS, 88 P.3d 527 (Alaska 2004); Irma E. v. State, 312 P.3d 850 (Alaska
2013); Cora C. v. State, No. S-16798, 2018 WL 2979472 (Alaska June 13, 2018)
(unpublished); Danielle A. v State, DHHS, OCS, 215 P.3d 349, 356 (Alaska 2009).
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“systemic relief,” not individual relief, and that CINA courts do not hear class actions or

issue “systemic” relief.31 But Plaintiffs’ focus on “systemic relief” misunderstands the

requirements for Younger abstention.32 As noted below, each Named Plaintiff must allege

facts sufficient to support jurisdiction over his or her individual claims, not just facts

sufficient to support putative class claims.33

       Accordingly, the question under Younger is not whether the plaintiff has an

“adequate opportunity” to raise putative class claims or pursue “systemic relief” in state

court. The proper question is whether each individual plaintiff has an “adequate

opportunity” to raise their individual federal issues in the ongoing state court proceeding,

“subject to conventional limits on justiciability.”34 As the Tenth Circuit noted, a plaintiff

is not “entitled to avoid the effects of the Younger abstention doctrine in cases where relief

is available to individual litigants in ongoing state proceedings but not to represented

parties in a class action.”35 Otherwise, any plaintiff to an ongoing state court case could

sidestep Younger simply by asserting claims in federal court on behalf of a putative class.

       Here, nearly all relief the Named Plaintiffs seek can be pursued in their individual




31
        Dkt. 30, pp. 18, 21, 25-28.
32
        As an initial matter, requests for systemic relief actually work in favor of abstention,
not against it. In Moore, the Supreme Court explained that the district court “invert[ed]
traditional abstention reasoning” by “suggest[ing] that the more sweeping the challenge the
more inappropriate is abstention” when in fact, the opposite is true: “The breadth of a
challenge to a complex state statutory scheme has traditionally militated in favor of
abstention, not against it.” Moore, 442 U.S. at 427 (emphasis in original).
33
        See Dkt. 23, pp. 14-16.
34
        Moore, 442 U.S. at 426.
35
        Joseph A., 275 F.3d at 1273-74.
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CINA cases,36 and the Opposition fails to establish otherwise. Instead, Plaintiffs assert that

there are obstacles to pursuing their claims in state court. For instance, Plaintiffs argue

foster children are not assigned counsel in all CINA cases (Dkt. 30, p. 28 n.44), and that

“CINA proceedings are kept secret from public view and it is difficult to access records

from other cases” (Dkt. 30, p. 27). But neither argument demonstrates a lack adequate

opportunity to pursue claims in superior court.

       First, CINA proceedings include numerous protections to ensure children have an

adequate opportunity to be heard, including appointment of counsel in many situations

(Dkt. 23, p. 24). And “the absence of automatic counsel at public expense for every child

in a [state abuse-and-neglect] proceeding does not permit a federal court to deem all [such]

proceedings defective and bypass the state judiciary.”37 Second, confidentiality has nothing

to do with the Named Plaintiffs’ ability to raise federal issues.38 As the First Circuit

explained, “the Supreme Court has never suggested that having an adequate opportunity to

present a federal claim requires the parallel state proceeding be open to the public.”39

       Alaska superior courts “are competent to adjudicate federal constitutional claims,”40

and Plaintiffs cannot point to any authority to overcome the presumption applied in the


36
       Dkt. 23, pp. 8-14, 22-24; see also AS 22.10.020(a); AS 22.10.020(c); AS
47.10.080(l)(6); CINA Rule 17.2(g); CINA Rule 10.1(a)(2), (b)(2); CINA R. 17.2(e)(5);
Cora C. v. State, No. S-16798, 2018 WL 2979472 (Alaska. June 13, 2018) (unpublished)
(reviewing whether the superior court complied with ICWA); Danielle A. v State, DHHS,
OCS, 215 P.3d 349, 356 (Alaska 2009) (same).
37
       Ashley W., 34 F.4th at 593.
38
       See, e.g., Brooks v. N.H. Supreme Court, 80 F.3d 633, 639 (1st Cir. 1996).
39
       Id.; see also Spargo v. N.Y. Comm’n on Judicial Conduct, 351 F.3d 65, 80-81 (2d
Cir. 2003).
40
       Oglala Sioux Tribe, 904 F.3d at 613 (citing Moore, 442 U.S. at 430).
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Younger analysis that “‘a federal court should assume that state procedures will afford an

adequate remedy, in the absence of unambiguous authority to the contrary.’”41

       Finally, Plaintiffs’ argument that they do not have an adequate opportunity to raise

their claims in CINA cases because they are seeking class-wide relief disregards the well-

settled rule that a litigant’s right “to employ Rule 23 is a procedural right only, ancillary to

the litigation of substantive claims.”42 In other words, Rule 23 “leaves the parties’ legal

rights and duties intact and the rules of decision unchanged.”43 As a result, Plaintiffs cannot

circumvent the application of Younger simply by alleging claims for systemic relief.44

       D.     CINA proceedings implicate important state interests.

       Remarkably, Plaintiffs dispute that CINA proceedings implicate important state

interests, relying on quotations taken out of context discussing other parts of the Younger

analysis.45 But in the dozens of child welfare institutional reform cases litigated over the

last few decades across the country, including many litigated by lead counsel for Plaintiffs,

plaintiffs rarely dispute this Younger factor.46 And Plaintiffs fail to cite a single case


41
        Oglala Sioux Tribe, 904 F.3d at 613 (citing Moore, 442 U.S. at 430) (quoting
Pennzoil v. Texaco, Inc., 481 U.S. 1, 15 (1987)); accord, e.g., 31 Foster Children, 329 F.3d
at 1279; Joseph A, 275 F.3d at 1274; see also Moore, 442 U.S. at 425-26 (“[A]bstention is
appropriate unless state law clearly bars the interposition of the [federal statutory] and
constitutional claims.”).
42
        Deposit Guar. Nat’l Bank v. Roper, 445 U.S. 326, 332 (1980).
43
        Shady Grove Orthopedic Assocs., P.A. v. Allstate Ins. Co., 559 U.S. 393, 408 (2010).
44
        Plaintiffs’ insistence that they are only seeking systemic relief is the same problem
that doomed the plaintiffs in Ashley W. If the Named Plaintiffs are not seeking individual
changes to their services, placements, or treatment, then they lack standing because they
are not pursuing relief that would redress their individual harms.
45
        Dkt. 30, pp. 29-31.
46
        See, e.g., Joseph A., 275 F.3d at 1268; 31 Foster Children, 329 F.3d at 1275; J.B.
ex rel. Hart v. Valdez, 186 F.3d 1280, 1291 (10th Cir. 1999).
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holding state abuse-and-neglect cases do not implicate important state interests.

       While Plaintiffs point to Dwayne B. v. Granholm (a case brought by Plaintiffs’ lead

counsel here), “[i]t [was] not disputed that Michigan has a strong interest in the welfare of

children in its foster care system.”47 Accordingly, Dwayne B. only involved “the first and

third Middlesex factors,” not the “important state interest factor.”

       Finally, the Supreme Court has explained that “[f]amily relations are a traditional

area of state concern,”48 and States have “an urgent interest in the welfare of the child.”49

If zoning abatement proceedings implicate important state interests,50 and state custody

proceedings implicate important state interests,51 certainly state abuse-and-neglect

proceedings do as well. Indeed, the Ninth Circuit has already held “dependency actions

and/or actions to terminate parental rights” “implicate important state interests.”52

       E.     Abstention is appropriate under O’Shea and Rooker-Feldman.

       The Opposition argues O’Shea is limited to cases where the plaintiffs actually bring

claims against state courts and explicitly seek to enjoin state court actions.53 While most

O’Shea cases fit that description, the doctrine is not as limited as Plaintiffs suggest. Rather,

O’Shea applies when the plaintiff seeks “an injunction aimed at controlling or preventing

the occurrence of specific events that might take place in the course of” ongoing or future



47
       Dwayne B. v. Granholm, No. 06-13548, 2007 WL 1140920, *5 (April 17, 2017).
48
       Moore, 442 U.S. at 435.
49
       Santosky v. Kramer, 455 U.S. 745, 766 (1982).
50
       Citizens for Free Speech, LLC, 953 F.3d at 657.
51
       H.C. v. Koppel, 203 F.3d 610, 613 (9th Cir. 2000).
52
       Zimmerman v. Gregoire, 2001 WL 1020303, 601 (unpublished).
53
       Dkt. 30, pp. 30-31.
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state court proceedings, such that the relief the plaintiff seeks is effectively an “ongoing

federal audit” of state proceedings.54 Indeed, a number of courts have abstained under

O’Shea where the plaintiffs were not explicitly seeking an injunction against a state court.55

       In addressing Defendants’ Rooker-Feldman argument, Plaintiffs do not dispute that

superior courts have approved the Named Plaintiffs’ placements in their CINA cases.56

Nevertheless, Plaintiffs contend Rooker-Feldman does not apply because Plaintiffs “do not

challenge or seek to alter” any superior court’s placement decision.57 If that is true, what

relief are the Named Plaintiffs seeking with respect to their placements, given that superior

courts have issued orders approving them?58 If the Named Plaintiffs are not seeking

changes to their placements, then they lack standing to bring claims based on allegedly

inappropriate placements.59 If the Named Plaintiffs are seeking to change their placements,

that would require the Court to review superior court decisions in the Named Plaintiffs’

CINA cases, which Rooker-Feldman prohibits.60 Plaintiffs cannot have it both ways.

II.    The Court lacks subject matter jurisdiction.

       The Seventh Circuit’s May 2022 opinion in Ashley W. casts significant doubt on



54
       See 414 U.S. 488, 500 (1974).
55
       See, e.g., Hall v. Valeska, No. 12-12267, 509 Fed. App’x 834 (11th Cir. Dec. 31,
2012) (unpublished); Attala Cnty., Miss., Branch of NAACP v. Evans, No. 19-cv-167, 2020
WL 5351075 (N.D. Miss. Sept. 4, 2020).
56
       See Dkt. 30, pp. 35-37.
57
       Id. at 36.
58
       Dkt. 23, pp. 36-37 (describing CINA courts approving Named Plaintiffs’
placements).
59
       See Part II, infra.
60
       D.C. Court of Appeals v. Feldman, 460 U.S. 462, 482-84 n.16 (1983); Bianchi v.
Rylaarsdam, 334 F.3d 895, 898 (9th Cir. 2003).
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federal courts’ jurisdiction over cases like this one, and that issue was heavily briefed in

the Motion.61 Nevertheless, the Opposition devotes just a few pages to it. Plaintiffs point

out a few allegations pertaining to a few of the 14 Named Plaintiffs, then ask the Court to

trust that they will demonstrate jurisdiction after discovery. But that is not the standard. At

the pleading stage, each plaintiff bears the burden to plead sufficient allegations to

demonstrate the court’s subject matter jurisdiction.62 Here, Plaintiffs failed to do so.

       A.     Each of the Named Plaintiffs must establish the Court’s jurisdiction.
              Class-wide allegations are irrelevant.

       To avoid demonstrating that each Named Plaintiff adequately pleaded (1) injury, (2)

causation, and (3) redressability, the Opposition cites the Ninth Circuit’s opinion in B.K. v.

Snyder63 and asserts that “Plaintiffs need not allege that each policy and practice affected

each individual plaintiff.”64 But B.K. does not actually stand for the proposition for which

it is cited. In fact, the Ninth Circuit echoed exactly what Defendants have stressed here:

       [W]hen we measure a plaintiff’s standing, regardless of whether the plaintiff
       sues individually or as a class representatively, we look concretely at the facts
       that pertain to that plaintiff.65

       Plaintiffs also ignore the well-settled rule that “the basic inquiry, for each party

seeking to invoke the authority of the federal courts, is whether that party alleges personal

injury that is fairly traceable to the challenged conduct and likely to be redressed by the


61
        Dkt. 23, pp. 38-46.
62
        Barapind v. Gov't of Republic of India, 50 F. Supp. 3d 1388, 1391 (E.D. Cal. 2014),
aff'd, 844 F.3d 824 (9th Cir. 2016) (citing McNutt v. Gen. Motors Acceptance Corp., 298
U.S. 178, 189, (1936)).
63
        922 F.3d 957 (9th Cir. 2019).
64
        Dkt. 30, p. 41.
65
        B.K., 922 F.3d at 967.
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requested relief.”66 Applying that rule here, each of the 14 Named Plaintiffs must allege:

       (1)    Injury: An actual injury or a likelihood of future harm absent an injunction
              (past exposure to illegal conduct alone is not enough).

       (2)    Causation: The injury alleged must be fairly traceable to Defendants’ illegal
              conduct or practice, and the line of causation must be more than attenuated.

       (3)    Redressability: The Plaintiffs must show it is likely, as opposed to merely
              speculative, that the injuries actually complained about (see item (1), above)
              will be redressed by a favorable decision.

Here, the Complaint fails to establish all three requirements for each Named Plaintiff.

       B.     Each Named Plaintiff failed to adequately plead injury.

       The Opposition fails to demonstrate that the Complaint adequately pleaded an actual

injury for each Named Plaintiff. First, the Opposition only points out arguable injuries for

six of the 14 Named Plaintiffs.67 Second, the Opposition makes the high-level allegation

that “Plaintiffs all remain in OCS custody, and therefore, face ongoing harm and remain at

a significant risk of experiencing future harm from Defendants’ policies and practices.”

Dkt 30, p. 39. But Plaintiffs fail to identify any specific policies or practices, let alone how

they place any particular Named Plaintiff at “significant risk” of future harm. Accordingly,

Plaintiffs have adequately pleaded an injury for only six of the 14 Plaintiffs, at best.

       C.     Each Named Plaintiff failed to adequately plead causation.

       Plaintiffs’ response to Defendants’ causation arguments is even more general. First,

Plaintiffs incorrectly argue they are not obligated to plead that Defendants’ policies and

practices affected each Named Plaintiff. But as noted above, the Ninth Circuit requires


66
      ASARCO Inc. v. Kadish, 490 U.S. 605, 615-16 (1989) (internal citations omitted).
67
      Dkt. 30, pp. 38-40 (citing allegations pertaining to Jeremiah M., Hannah M., Hunter
M., Rachel T., Elanor T., and Lana H.).
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courts to “look concretely” at the facts pertaining to each plaintiff,68 and the Supreme Court

has long required each party to allege injury, causation, and redressability.69

       The Opposition then moves to a one-paragraph discussion of causation, mentioning

only one of the 14 Named Plaintiffs, Gayle T. In addressing Defendants’ arguments about

Gayle T., the Opposition argues an agency may not “contract away its constitutional duty

of care,” but that is not what Defendants argued. Rather, Defendants pointed out that

Plaintiffs have not alleged facts sufficient to support a claim that Defendants violated their

constitutional duties. And the case Plaintiffs cite (K.H. v. Morgan)70 is fundamentally

unlike this one because that complaint alleged that two defendant case workers “knew that

the foster parent was incompetent.”71 Here, the Complaint failed to allege that Defendants

knew the facility where Gayle T. was placed was incompetent or dangerous. In short,

neither the Complaint nor the Opposition establishes a causal link between Plaintiffs’ high-

level complaints about OCS and the past harms each Named Plaintiff allegedly suffered.

       D.     Each Named Plaintiff failed to adequately plead redressability.

       Of the three elements of standing, redressability is most problematic for the

Plaintiffs. But the Opposition devotes the least amount of attention to that component (Dkt.

30, pp. 42-43), arguing, in essence, that the Court shouldn’t worry about this at the pleading

stage. According to the Plaintiffs, a proper injunction can be crafted later, after the parties

go through a long and arduous discovery process, litigate class certification, and conduct a


68
       B.K., 922 F.3d at 967.
69
       See, e.g., ASARCO Inc., 490 U.S.at 615-16 (internal citations omitted).
70
       914 F.2d 846 (7th Cir. 1990).
71
       Id. at 849.
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trial on the merits. Dkt. 30, pp. 42-43. Plaintiffs are incorrect.

       First, plaintiffs are unquestionably required to establish redressability at the

pleadings stage. For example, in M.S. v. Brown, five plaintiffs filed a putative class action

against Oregon state officials alleging constitutional violations and seeking injunctive and

declaratory relief.72 The trial court granted a motion to dismiss, and the plaintiffs

appealed.73 On appeal, the Ninth Circuit specifically analyzed each request for declaratory

and injunctive relief and concluded the plaintiffs failed to adequately plead redressability.74

In Ashley W., the Seventh Circuit similarly analyzed redressability at the pleadings stage

and concluded the plaintiffs’ claims should be dismissed.75

       Second, the authorities Plaintiffs cite for the proposition that redressability

arguments are “premature” are not on point. For example, Plaintiffs cite Celebrity Chefs

Tour, LLC v. Macy’s Inc.76 for the proposition that a claim should not be dismissed merely

because a plaintiff requests a remedy to which it is not entitled. But Celebrity Chefs

involved a dispute over whether a plaintiff could recover punitive damages on a trademark

claim (which, even if unavailable, would not justify dismissal of the entire claim).77 It had

nothing to do with injunctive relief, subject matter jurisdiction, or redressability.

       Plaintiffs’ Ninth Circuit case – Pruitt v. Cheney78 – is also inapposite. It says nothing



72
       902 F.3d 1076, 1083-84 (9th Cir. 2018).
73
       Id. at 1082.
74
       Id. at 1084-1091.
75
       Ashley W. v. Holcomb, 34 F.4th at 593-94.
76
       16 F.Supp.3d 1159 (S.D. Cal. 2014).
77
       Id. at 1164.
78
       963 F.2d 1160 (9th Cir. 1991).
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about redressability or subject matter jurisdiction, nor did it hold that trial courts cannot

consider redressability on a motion to dismiss.79 It also relied on Conley v. Gibson’s “no

set of facts” pleading standard, which was retired 15 years ago in Twombly.80

       Plaintiffs’ position that they don’t have to establish redressability at this juncture is

also at odds with the rule that federal courts are presumptively without jurisdiction over

civil cases, and the burden of establishing the contrary is on the plaintiff.81 It is also

inconsistent with the court’s “independent obligation to determine whether subject-matter

jurisdiction exists, even in the absence of a challenge from any party.”82

       Third, in an effort to avoid Younger, the Opposition repeatedly disavows any effort

to seek “individual” relief for the Named Plaintiffs, stressing that Plaintiffs seek “systemic

relief.”83 But Plaintiffs make no attempt to show why it is likely, as opposed to speculative,

that any of the Complaint’s 18 requests for injunctive relief would actually improve the

plight of any of the Named Plaintiffs.84 That omission is telling, especially when Plaintiffs’

requests for relief are entirely divorced from the Named Plaintiffs – i.e. none of the requests

references ongoing or threatened harm to a Named Plaintiff, much less puts a stop to it.

       Fourth, the Opposition has no answer for Defendants’ arguments about Plaintiffs’


79
        See id.
80
        Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 562-63 (2007) (“Conley’s ‘no set of
facts’ language has been questioned, criticized, and explained away long enough .... [and]
has earned its retirement.”).
81
        Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S. 375, 377 (1994).
82
        Arbaugh v. Y&H Corp., 546 U.S. 500, 514 (2006).
83
        Dkt. 30, pp. 18, 21, 25-28.
84
        See, e.g., Ashley W., 34 F.4th at 592 (“The question is whether the issues such as the
ones we have mentioned…matter to these plaintiffs in a way that a court could redress.”)
(emphasis added).
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aspirational requests (e.g., an injunction requiring OCS to hire more workers or find more

foster families). In fact, one of Plaintiffs’ own authorities highlights why this type of relief

is unlikely to work, even on a class-wide basis. In K.H. v. Morgan, Judge Posner explained:

       [T]he underlying problem [movement of a child among multiple placements]
       is not lack of professional competence but lack of resources, a problem of
       political will unlikely to be soluble by judicial means. Good foster parents
       are difficult to find, unless they are paid generously; good institutional care
       is expensive too. The needs of neglected, abused, and abandoned children
       compete with other demands, both public and private, for scarce resources.
       The allocation of the nation's—even of a single state's—resources is not a
       realistic assignment for the federal courts.85

       In sum, each Named Plaintiff was required to show that it is likely, not merely

speculative, that his or her actual injury will be redressed by a favorable decision. But none

of Plaintiffs’ requests for injunctive relief references ongoing or threatened harm to a

Named Plaintiff, much less puts a stop to it.86 And it is entirely speculative whether

Plaintiffs’ aspirational requests would make a difference, even on a class-wide basis.87

III.   Plaintiffs’ have not adequately alleged their substantive due process claims.88

       Plaintiffs’ substantive due process claims (Count I) fail for two reasons:

       (1)    They assert the violation of rights that are not constitutionally recognized;
              and

       (2)    They fail to allege sufficient facts to support their claims.

       Plaintiffs Opposition begins by defending various alleged rights related to the


85
       K.H., 914 F.2d at 853.
86
       As set forth above and in the Motion, 12 of Plaintiffs’ 18 requests for relief are
available in their CINA cases, which requires the Court to abstain. Dkt. 23, pp. 46-47.
87
       See Ashley W. and K.H., supra.
88
       Plaintiffs’ Opposition argues that the amended complaint adequately asserts rights
recognized under the Fourteenth Amendment. Dkt. 30, p. 48 n.80. To be clear, Defendants
do not concede that Plaintiffs have adequately stated a substantive due process claim.
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availability of placements and the length of time a child is in foster care. But the court in

one of Plaintiffs’ most prominently featured authorities – Wyatt B. by McAllister v. Brown

– recognized that substantive due process does not extend to the rights Plaintiffs assert, and

it granted a motion to dismiss the same types of claims the Plaintiffs make here.89

       The court explained: “[S]ubstantive due process does not…extend to placement in

an optimal or least-restrictive setting, or to the availability of an array of placement

options”;90 accordingly, it dismissed the plaintiffs’ claim “to the extent that it seeks to

vindicate a substantive due process right to be housed in the least restrictive setting, or a

right to an array of community-based placements.”91 The court also held that “substantive

due process does not extend to a right not to be retained in DHS custody for longer than is

necessary...,”92 and it dismissed Plaintiffs’ claim “insofar as it asserts a claim based on a

right to a ‘duration of foster care reasonably related to the purpose of government

custody,’…or ‘the right not to be maintained in custody longer than is necessary to

accomplish the purpose to be served by taking a child into government custody.’”93

       Thus, even under Plaintiffs’ own authorities, the alleged substantive due process

rights asserted in ¶¶ 269(c) (least restrictive environment), (d) (duration of foster care), and

(f) (maintain custody no longer than is necessary), and (g) (right to be placed in a permanent


89
       2021 WL 4434011, at *9; M.D. by Stukenberg v. Abbott, 907 F.3d 237, 268 (5th
Cir. 2018) (“[T]he availability of foster homes, particularly those that provide the most
“home-like,” “least-restrictive” environments, is something uniquely out of the State's
control.”).
90
       Wyatt B., 2021 WL 4434011, at *9.
91
       Id.
92
       Id.
93
       Id.
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home or be reunited with family within a reasonable period) should be dismissed.

       The other rights Plaintiffs assert in ¶ 269 should also be dismissed because (1) they

exceed the “minimally adequate care and treatment” standard set forth in Lipscomb v.

Simmons, and (2) they are vague and unworkable (e.g. “right to freedom from foreseeable

risk of maltreatment,” ¶ 269(a); “right to protection from unnecessary intrusions into the

child’s emotional well-being,” ¶ 269(b), “right to treatment and care consistent with the

purpose and assumption of government custody” ¶ 269(e)).94

       Finally, even if the rights in ¶ 269 are constitutionally recognized, the claims still

fail because Plaintiffs’ allegations, taken as true, do not plausibly allege deliberate

indifference.95 “Deliberate indifference is ‘a stringent standard of fault, requiring proof that

[the actor] disregarded a known or obvious consequence of his action.’”96 And here,

Plaintiffs’ arguments as to why the Complaint’s factual allegations establish deliberate



94
       See Lipscomb v. Simmons, 962 F.2d 1374, 1379 (9th Cir. 1992) (foster children have
a protected liberty interest in “reasonable safety and minimally adequate care and treatment
appropriate to the age and circumstances of the child.”).
95
       Plaintiffs argue the deliberate indifference standard in Momox-Caselis, 987 F. 3d
835, 845 (9th Cir. 2021) was set aside by Castro v. Cty. of Los Angeles, 833 F.3d 1060 (9th
Cir. 2016). In addition to being a temporal impossibility (Castro was issued five years
before Momox-Caselis), Castro was limited in its holding. It overruled a prior case
(Clouthier v. Cty. of Contra Costa) “to the extent it identified a single deliberate
indifference standard for all § 1983 claims.” 833 F.3d at 1070. And Castro only altered the
subjective test “in the context of a pretrial detainee’s failure-to-protect claim.” Id. Thus,
Momox-Caselis remains good law in foster care situations. Plaintiffs’ assertion (Dkt. 30, p.
51) that “reckless disregard” is the new standard in proving deliberate indifference in foster
care cases is misunderstands Castro, which merely provides: “[T]he test to be applied
under Kingsley must require a pretrial detainee who asserts a due process claim for failure
to protect to prove more than negligence but less than subjective intent—something akin
to reckless disregard.” 833 F.3d at 1071 (emphasis added).
96
       Momox-Caselis, 987 F.3d at 845.
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indifference fail to specify any specific instances of deliberate indifference, let alone link

those allegations to any Named Plaintiff.97 Plaintiffs also fail to explain why the

complaint’s factual allegations “shocked the conscience.”98 In short, Plaintiffs’ generalized

allegations (e.g., harms are perpetuated by “failing to implement standardized referral

processes for services”99) do not satisfy pleading standards and should be dismissed.

IV.    The right to familial association claim (Count II) is not properly pleaded.

       Plaintiffs allege a right to a “permanent family” under the First and Ninth

Amendments,100 but they ignore Mullins v. Oregon, which held there is no “affirmative

right to create an entirely new family unit out of whole cloth.”101 They cite no law to

support their assertion that states assume an affirmative obligation to restore the family unit

when it removes children.102 And none of their cases—including Kenny A. v. Perdue103—

establish a right to a permanent family. Accordingly, Count II should be dismissed.

V.     Plaintiffs failed to state a claim under ICWA (Count IV).

       Plaintiffs admit the cause of action created by the Indian Child Welfare Act (ICWA)


97
        Dkt. 30, pp. 50-51. For instance, Plaintiffs defend the alleged “right to protection
from unnecessary intrusions into the child’s emotional wellbeing” by selectively quoting
from Wyatt B. But what Wyatt B. actually says is: “The state must provide food, shelter,
clothing, medical care, supervision and must, to the best of its ability under the
circumstances, shield the children in their custody from physical and psychological harm.”
2021 WL 4434011, at *8. Plaintiffs did not point to any allegations that the State, to the
best of its ability under the circumstances, failed to shield one of the Named Plaintiffs from
physical or psychological harm.
98
        See, e.g., Cty. of Sacramento v. Lewis, 523 U.S. 833, 846-50 (1998).
99
        Dkt. 30, p. 51.
100
        Am. Compl. ¶ 271.
101
        57 F. 3d 789, 794 (9th Cir. 1995).
102
        Dkt. 30, p. 56.
103
        218 F.R.D. 277 (N.D. Ga. 2003).
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cannot be used “to enforce violations of § 1915,” but they argue their § 1915 claims are

still viable because they are seeking to enforce the provision via 42 U.S.C. § 1983

instead.104 But, as Plaintiffs acknowledge,105 a claim alleging a violation under federal law

may not be brought under § 1983 if Congress has “foreclosed a 1983 remedy.”106

       Congress may foreclose a § 1983 remedy either expressly or “by creating a

comprehensive enforcement scheme that is incompatible with individual enforcement

under § 1983.”107 To determine whether Congress did this for a violation of a federal right

created by statute, courts look to “the remedial devices provided in [the] particular Act.”108

When Congress provides “an express, private means of redress in the statute itself,” that

provision “is ordinarily an indication that Congress did not intend to leave open a more

expansive remedy under § 1983.”109 Such an inference may be overcome “by textual

indication, express or implicit, that the remedy is to complement, rather than supplant, §

1983.”110 As the Ninth Circuit summarized, “when Congress creates a right by enacting a

statute but at the same time limits enforcement of that right through a specific remedial



104
        Dkt. 30, p. 58.
105
        Id. at 57.
106
        Middlesex Cnty. Sewerage Auth. v. Nat’l Sea Clammers Ass’n, 453 U.S. 1, 19-21
(1981).
107
        Blessing v. Freestone, 520 U.S. 329, 341 (1997); see also Smith v. Robinson, 468
U.S. 992 (1984), superseded on other grounds by statute as recognized in Fry v. Napoleon
Community Schools, 580 U.S. 154 (2017) (holding § 1983 was precluded when the statute
established a “comprehensive” set of “detailed procedural safeguards,” including
procedures to “ensure that hearings conducted by the State are fair and adequate” and “a
right to judicial review”).
108
        Nat’l Sea Clammers, 453 U.S. at 20.
109
        City of Rancho Palos Verdes, Cal. v. Abrams, 544 U.S. 113, 121 (2005).
110
        Id. at 122.
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scheme that is narrower than § 1983, a § 1983 remedy is precluded.”111

       By enacting § 1914, Congress provided in ICWA an express, private means of

redress in the statute itself that is narrower than § 1983, in that it only authorizes judicial

review for alleged violations of §§ 1911, 1912, and 1913. There is no “textual indication”

that § 1914 is intended “to complement, rather than supplant, § 1983.” To the contrary, as

other courts have explained in recognizing congressional intent to foreclose a § 1983

remedy, ICWA establishes a “comprehensive” set of “detailed procedural safeguards” that

Congress designed to effectively protect Indian children and tribes, and Congress provided

an express right to judicial review to remedy violations of those procedures only.112 This

shows that Congress intended to preclude attempts to seek relief through § 1983 for alleged

violations of ICWA that are not covered by § 1914’s express cause of action.

       That federal Indian law instructs courts to interpret ambiguities in favor of Indians

does not mean courts are free to ignore explicit limitations federal Indian law statutes

impose on their jurisdiction.113 And although other courts have concluded that Section 1914

does not preclude a Section 1983 remedy for violations of the specific provisions that fall

within Section 1914’s express cause of action,114 no case holds a Section 1983 remedy is



111
        Stilwell v. City of Williams, 831 F.3d 1234, 1244 (9th Cir. 2016).
112
        See Smith, 468 U.S. at 1012-13; see also 25 U.S.C. §§ 1901, 1902.
113
        See Doe v. Mann, 285 F. Supp. 2d 1229, 1241 (N.D. Cal. 2003) (“While this court
is mindful that ambiguities in ICWA should be interpreted to benefit Indians, it seems clear
from the text of section 1914 that Congress intended to provide a cause of action only for
violations of three ICWA sections.”).
114
        Native Vill. of Venetie IRA Council v. Alaska, 155 F.3d 1150, 1153 (9th Cir. 1998)
(tribes can bring Section 1983 claim to enforce sovereign interests protected by Section
1911(d)’s full faith and credit clause); Belinda K. v. Cnty. of Alameda, No. 10-CV-05797,
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available for alleged violations of provisions that are not covered by Section 1914.

       Even if Congress had not precluded plaintiffs from pursuing Section 1915 claims

under Section 1983, there is no federal right giving rise to an implied cause of action under

Section 1915 through Section 1983, as several federal courts have held.115 Three

requirements must be met for a statute to create a private right enforceable under 1983:

       (1)    “Congress must have intended that the provision in question benefit the
              plaintiff”;

       (2)    “the plaintiff must demonstrate that the right assertedly protected by the
              statute is not so ‘vague and amorphous’ that its enforcement would strain
              judicial competence”; and

       (3)    “the statute must unambiguously impose a binding obligation on the
              States…in mandatory, rather than precatory, terms.”116

       Although Plaintiffs are correct that ICWA, including § 1915, is designed to benefit

“Indian child[ren],” Plaintiffs failed to show that § 1915’s placement preferences create

individual rights that are not so “vague and amorphous” as to be judicially unenforceable

or that those preferences impose binding obligations on States. Rather, the fact that §

1915’s placement preferences are subject to tribal renegotiation,117 and may be departed

from for good cause, indicates the provision does not create the type of clear, unambiguous,

and binding obligations that courts have interpreted as to give rise to federal rights, but




2011 WL 2690356, at *17 (N.D. Cal. July 8, 2011) (concluding on “a close question” that
Indian parent could bring Section 1983 claim to enforce § 1912’s right to counsel).
115
       See Dkt. 23, pp. 66-67 (citing cases).
116
       Blessing v. Freestone, 520 U.S. 329, 340-41 (1997) (internal citations omitted); see
also Gonzaga v. Doe, 536 U.S. 273, 282-83 (2002).
117
       See § 1915(c).
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instead it merely “express[es] a congressional preference for certain kinds of treatment.”118

       Plaintiffs assert that if there is no claim under § 1915, Indian children “would be left

without a remedy.”119 But children and Tribes can challenge placements in CINA cases,

and in any event, § 1983 “does not provide an avenue for relief every time a state actor

violates a federal law.”120 They can also go to federal court and seek relief for violations

of §§ 1911, 1912, and 1913’s procedural protections. That Congress did not grant a similar

right to challenge a State’s compliance with § 1915’s mandatory yet yielding placement

preferences shows there is no judicially enforceable, individual federal right to compliance.

VI.    Plaintiffs’ ADA and Rehabilitation Act claims should be dismissed.

       Plaintiffs’ argue they have “adequately alleged discrimination” in violation of the

ADA and the Rehabilitation Act “resulting from Defendants’ failure to offer reasonable

modifications to existing foster care programs.” Dkt. 30, at 63. But the Complaint contains

no allegations about any Plaintiff purporting to represent the “ADA Subclass” making any

request for reasonable modification, nor any allegation that Defendants refused reasonably

modify their policies and practices to accommodate their disabilities.

       Plaintiffs cite the general assertion in Count VI that Defendants have not afforded

them “an equal opportunity to take advantage” of certain types of services, including in-

home safety plans, health care screenings, and respite care.121 But the Complaint alleges



118
       Golden State Transit Corp. v. City of Los Angeles, 493 U.S. 103, 106 (1989)
(quoting Pennhurst State Sch. and Hosp. v. Halderman, 451 U.S. 1, 19 (1981)).
119
       See Dkt. 30, p. 59.
120
       Rancho Palos Verdes, 544 U.S. at 119.
121
       Dkt. 30, p. 66 (citing Am. Compl., ¶ 306).
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no inadequacies in any of the Named Plaintiffs’ in-home safety plans.122 Nor does it allege

inadequacies in any of their health care screenings or respite care, other than a single

statement that George V. receives it as a Medicaid service (¶84). In short, the allegations

about the Named Plaintiffs (which are all that matter now) fail to state an ADA claim.123

       Plaintiffs also have not “adequately alleged violations of the integration mandate

based on a risk of future placement in institutions or other overly restrictive settings.”124

In insisting that they have, Plaintiffs mischaracterize Defendants’ argument – as does the

Department of Justice (DOJ), in its Statement of Interest – to say that “risk of future

institutionalization” does not violate the ADA.125 But that is not Defendants’ argument.



122
        The only allegations Plaintiffs cite about inadequacies relating to in-home safety
plans, health care screenings, or respite relate to Jeremiah M. (¶¶ 42 and 44 of the First
Amended Complaint). But even Rule 8’s liberal pleadings standards do not support
Plaintiffs’ suggestion that the allegation that Jeremiah M. was removed from his mother’s
care “after his non-custodial father visited the family while intoxicated and his mother was
subsequently evicted” should be read to allege, as they now claim, that Defendants did not
explore an in-home safety plan “likely because of his disabilities and because of prejudiced
notions about the difficulty of parenting children with disabilities,” Dkt. 30, at 67. There
simply is no connection between the allegation in the Complaint and the assertion in the
brief, but even if there were, “[f]actual allegations must be enough to raise a right to relief
above the speculative level” in order to survive a motion to dismiss. Twombly, 550 U.S. at
545. In any event, in-home safety plans are not, as Plaintiffs appear to believe, an obligation
to find a parent a home. Rather, they are plans to protect a child from abuse and other safety
threats within a home. See OCS, Child Protection Services Manual, at 468-70 (2022),
available                                                                                    at:
https://aws.state.ak.us/OnlinePublicNotices/Notices/Attachment.aspx?id=135698.
123
        Paragraph 306 of the Complaint also alleges denial of equal opportunity to “[t]imely
delivery of behavioral healthcare and other disability-related community-based services”.
To the extent this is a claim of inadequate health care, that is not an ADA violation, for the
reasons given in the Motion to Dismiss at pp. 66-68. To the extent it is a claim of risk of
unjustified institutionalization, Defendants address that below.
124
        Dkt. 30, p. 67.
125
        Dkt. 30, pp. 67-68.
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Rather, Defendants pointed out that “the Complaint does not allege any facts to support a

claim of ‘unjustified isolation’ of any Named Plaintiff.” Dkt. 23, p. 68. Plaintiffs now

appear to argue that their theory of a violation of the “integration mandate” is that the

Named Plaintiffs are “at risk of future placement in institutions.” But the Sixth and Seventh

Causes of Action in the First Amended Complaint refer only to “placing foster children

with disabilities in institutions” and failing to place foster children “in the most home-like,

least restrictive setting appropriate,” not “risk of future placements in institutions.”126

       Finally, the Complaint failed to allege facts with respect to each Named Plaintiffs

sufficient to support a claim of “risk of future institutionalization” or any other violation

of the integration mandate. Of the 13 members of the ADA subclass, Plaintiffs make no

allegation that 12 of them – Jeremiah H., Hannah H., Hunter H., Connor B., David V.,

George V., Lawrence V., Karen V., Damien V., Rachel T., Eleanor T., or Lana H. – are at

any risk of future placement in institutions or other restrictive settings. While Plaintiffs

allege Gayle T. may be moved back to a treatment center if she “misbehaves or runs away,”

they fail to allege she is not receiving needed community-based services that would assist

her in avoiding that behavior.127 Instead, Plaintiffs allege Gayle T. was not provided

assistance in arranging treatment for a back injury (which presumably would not be the

cause of any future institutionalization risk).128 Plaintiffs’ (and DOJ’s) argument that a risk

of institutionalization is sufficient to state a claim under the ADA is thus irrelevant as to



126
       See, e.g., Am. Compl., ¶¶ 298-315.
127
       Id. at ¶ 123.
128
       Id. at ¶ 121.
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whether these Named Plaintiffs have alleged such a claim. They have not.129

VII.   Count V should be dismissed because Section 672(a) does not require
       Defendants to make foster care maintenance payments to all families with
       whom a child is placed.

       Section 672(a) requires States to make foster care maintenance payments to two

categories of families: (1) families “licensed by the State”; and (2) families “approved, by

the agency of such State having responsibility for licensing homes of this type, as meeting

the standards established for such licensing.”130

       Here, Plaintiffs do not allege Defendants failed to make foster care maintenance

payments to foster families “licensed by the State” or to families “approved…as meeting

the standards established for such licensing.”131 Instead, they contend § 672(a) requires the

State to make maintenance payments to any family with whom OCS places a child.132

Plaintiffs’ argument fails because it conflates OCS’s approval of a foster child’s placement

with OCS’s approval of a family “as meeting the standards established for…licensing.”133

       OCS sometimes places children with families who have neither been licensed nor

“approved” by OCS as meeting the licensing standards.134 For example, if a child is


129
        Plaintiffs and DOJ refer to allegations in the Complaint that two other Named
Plaintiffs – George V. and Lana H. – were previously placed in institutions as sufficient to
support a claim of “unjustified isolation” in violation of the ADA. But this is a case for
injunctive relief to enjoin future actions. Absent an allegation that they themselves face a
risk of future unjustified institutional placement that can be remedied by an injunction, they
have not stated a claim, and their claims should be dismissed.
130
        § 672(a)(2)(c), (c).
131
        See Dkt. 30, pp. 60-63.
132
        Id. at 62.
133
        § 672(a)(2)(c), (c).
134
        § 672(a)(2)(c), (c); OCS, Child Protection Services Manual (OCS Manual), supra,
§§ 2.6.1, 3.4(E)(2).
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removed due to abuse, OCS may immediately place her with a “kinship” family (e.g.,

grandparents) that is not licensed as a foster family. OCS encourages and will work with a

family to get licensed, but that takes time, and many kinship families do not want to become

formally licensed or approved.135 Plaintiffs do not – and cannot – cite any language in §

672(a) requiring OCS to make foster care maintenance payments to families who have not

been “approved” by OCS “as meeting the standards established for…licensing,” simply

because OCS has approved placement with the family.

       Plaintiffs also argue Defendants violated § 672(a) by “‘failing to take necessary

steps to ensure that relatives or community members who could appropriately provide

homes for Plaintiff Kinship Subclass members…are licensed as kinship foster parents.’”

But Plaintiffs fail to point to any language in § 672(a) requiring Defendants to “take

necessary steps to ensure” kinship families.136

       Recognizing § 672(a) is of no help, Plaintiffs claim Defendants violated §

671(a)(29)’s “due diligence” requirement.137 But Plaintiffs brought a claim under on §

672(a), not 671(a)(29). Further, § 671(a)(29) relates to a state’s efforts to identify and notify

extended family members when a child is taken into foster care; § 671(a)(29) does not

require states to make maintenance payments to foster or kinship families.138



135
       While OCS encourages kinship families to become licensed, OCS permits them to
forego licensing if they wish. OCS Manual, §§ 2.6.1, 3.4(E)(2). Kinship families may
choose to forego licensing for any number of reasons, including because they do not wish
to subject their home to another layer of government regulation.
136
       See Dkt. 30, p. 61.
137
       Dkt. 30, at 61 n.98.
138
       42 U.S.C. § 671(a)(29).
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      Dated: October 14, 2022.

                                        Respectfully submitted,

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                           CERTIFICATE OF SERVICE

      A true and correct copy of this Reply Brief was served on counsel of record for the

Plaintiffs via the CM/ECF system on October 14, 2022.

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                                        Christopher A. Robison




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